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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION
                                                 §
  BROWSERKEY, LLC,                               §     Case No. 2:24-cv-00800
                                                 §
                                Plaintiff,       §     JURY TRIAL DEMANDED
                                                 §
                 v.                              §
                                                 §
  WELLS FARGO & CO.,                             §
                                                 §
                                Defendant.       §
                                                 §


                      PLAINTIFF’S RULE 7.1(a)(1) DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1(a)(1), BrowserKey, LLC states that its

 parent corporation is BrowserKey Inc., and that no publicly held corporation owns 10% or more

 of its stock.


 Dated: October 2, 2024                              Respectfully submitted,

                                                      /s/ Vincent J. Rubino, III
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                                          ATTORNEYS FOR PLAINTIFF
                                          BROWSERKEY, LLC




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 2, 2024, all counsel of record who are

 deemed to have consented to electronic service are being served with a copy of this document via

 the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                             /s/ Vincent J. Rubino, III
                                                Vincent J. Rubino, III




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